                 Case 1:19-mj-00053-JFA Document 5 Filed 02/04/19 Page 1 of 3 PageID# 8
^AO IWA (Rev, 6/97) OrJer Selling Conditions of Release                                                                    Paae 1 of               Paces




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                                     United States District Court
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                                                                                                                                       ViEGliilA
                                                Eastern           District of         Virginia



                   United Slates of America
                                                                      ORDER SETTING CONDITIONS
                                                                                      OF RELEASE
                                V.


                                'S\A\nnk\is
                           Defendant
                                                                                       " "1^-fY\ \ — 03      U--'


 IT IS ORDERED that the release of the defendant is subject to the following conditions:

          (!) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

          (2) The defendant shall immediately advise the court, defense counsel and the U.S. Attorney in writing before any change in
                 address and telephone number.

          (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

                directed. The defendant shall appear at (if blank, to be notified)^      .        .United States District Court

                   401 Courthouse Sq.. Alexandria. VA        on                       il
                                                                                             Date and Time




                                       Release on Personal Recognizance or Unsecured Bond

 IT IS FURTHER ORDERED that the defendant be released provided that:

 (^ )(4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.
 (      )(5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

                                                                                                             dollars ($                              .)
                in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




                   DISTRIBUTION:      COURT      DEFENDANT    PRETRIAL     SERVICES       U.S. ATTORNEY        U.S. MARSHAL
Case 1:19-mj-00053-JFA Document 5 Filed 02/04/19 Page 2 of 3 PageID# 9
Case 1:19-mj-00053-JFA Document 5 Filed 02/04/19 Page 3 of 3 PageID# 10
